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                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
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                                      12   Ronald H. Pratte,                             Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,               JOINT CASE MANAGEMENT
           (480) 421-1001




                                                                                         REPORT
                                      14
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Plaintiff Ronald H. Pratte and Defendants Jeffrey Bardwell and Fanny F.
                                      20   Bardwell jointly submit this report of their Rule 26(f) planning meeting and case
                                      21   management plan. This report follows the format set out in the Court’s Order Setting
                                      22   Rule 16 Case Management Conference (Doc. 6).
                                      23          1.   Rule 26(f) Meeting. On April 9, 2019, counsel for the parties conducted
                                      24   a telephonic meet and confer to discuss Rule 26(f) and discovery topics. Greg
                                      25   Collins and Zach Fort participated for Mr. Pratte. Thomas Marlowe participated for
                                      26   the defendants.
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                                       1           2.   Parties and parent entities. The plaintiff in this case is Ronald H.

                                       2   Pratte, an individual. The defendants are Jeffrey and Fanny Barwell, husband and

                                       3   wife.

                                       4           3.   Nature of the case.

                                       5           Plaintiff’s Statement: This is a breach of contract case arising from an

                                       6   employment relationship between Mr. Pratte and Mr. Bardwell. In December 2005,

                                       7   the parties entered into an oral agreement that Mr. Bardwell would work for Mr.

                                       8   Pratte until either man died. In exchange for Mr. Bardwell’s promise to continue

                                       9   working for Mr. Pratte until either man died, Mr. Pratte provided the following

                                      10   consideration to Mr. Bardwell: $2,000,000.00 cash; three real estate parcels located

                                      11   in Nevada and Arizona; and reimbursement for tax liabilities. Together, the up-front
                                           consideration paid to Mr. Bardwell exceeded $10,000,000.00. Between 2006 and
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                                      13   2018, Mr. Bardwell worked under the terms of the parties’ agreement. In March
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                                      14   2018, Mr. Bardwell ceased all work for Mr. Pratte. Before filing this lawsuit, Mr.

                                      15   Pratte demanded that Mr. Bardwell return the consideration he received in exchange

                                      16   for his agreement to work for Mr. Pratte until either died. Mr. Bardwell refused. Mr.

                                      17   Pratte’s asserts three causes of action: breach of contract, promissory estoppel, and

                                      18   unjust enrichment.

                                      19           Defendants’ Statement: Defendants deny Pratte’s allegations. Bardwell

                                      20   acknowledges receipt of cash and properties. Bardwell asserts that the monies and

                                      21   properties were, in fact a gift and that he was treated similar to four other persons

                                      22   (members of Pratte’s family) who received identical gifts at the time. Bardwell

                                      23   further asserts that a gift tax return and other related filings were submitted to the

                                      24   Internal Revenue Service by Pratte evidencing his intent to make a gift to Bardwell.

                                      25   Bardwell denies there was any agreement or promise to work for the remainder of

                                      26   either of their lives and his continued association (not employment) with Pratte for

                                      27   over a decade was due to Bardwell’s gratitude for the life-changing gift, his sense of

                                      28   loyalty to Pratte who treated him like a virtual son for a period of time, and his


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                                       1   personal desire to learn from Pratte. Bardwell further asserts there was no written

                                       2   agreement, and therefore Bardwell denies the existence of an enforceable

                                       3   agreement/promise obligating Bardwell to work for Pratte until either man died.

                                       4   Bardwell further asserts that Pratte’s position is both contrary to the facts and would

                                       5   constitute an evasion of, or violation of tax and other laws, such as an employer’s

                                       6   duty to pay social security, Medicare, disability and other required payments on

                                       7   behalf of any employee and that he is estopped from taking contrary positions 12-

                                       8   years later. Bardwell finally contends that due to Pratte’s claim of “impoverishment”

                                       9   in relation to the unjust enrichment claim, and to provide appropriate context for any

                                      10   jury, it is important to share with the jury that this monetary transfer to Bardwell

                                      11   represented less than 3% of Plaintiff’s net worth.
                                                  4.   Jurisdiction. This is a diversity case with subject matter jurisdiction
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                                      13   under 28 U.S.C. §§ 1332. The amount in controversy exceeds $10 million. Plaintiff
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                                      14   is a citizen of Arizona and Defendants are citizens of California.

                                      15          5.   Status of service and appearances. All defendants have been served

                                      16   and appeared.

                                      17          6.   Additions and Amendments. Mr. Pratte’s counsel is still familiarizing

                                      18   itself with the facts and issues relevant to this dispute. There is a possibility that Mr.

                                      19   Pratte will seek to amend his complaint to include additional claims arising from the

                                      20   theft of his property and/or add claims against Mr. Bardwell’s former wife.

                                      21   Defendants may seek to Amend their Answer based upon any future Amended

                                      22   Complaint, or independently based upon the upcoming MIDP disclosures and

                                      23   document production.

                                      24          7.   Contemplated motions. Pending exchange of the MIDP disclosures and

                                      25   information, it is too early to know with any certainty which motions (if any) will be

                                      26   filed and on which topics, both parties anticipate the possibility of filing a motion for

                                      27   summary judgment on liability, namely, whether the agreement between the parties

                                      28   is enforceable. No Daubert motions are contemplated at this time, but may arise


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                                       1   after the disclosure of experts, if any, by either party.        Similarly, post-expert

                                       2   disclosures, other motions under Rules 702-705 may arise.

                                       3          8.   Suitability for reference to a magistrate judge. The parties do not

                                       4   believe this case is suitable for reference to a magistrate judge for settlement

                                       5   conference or trial. The parties may pursue private mediation.

                                       6          9.   Related pending cases. There are no related cases meeting the criteria

                                       7   of LRCiv 42.1(a) or (e).

                                       8          10. ESI issues. The parties have taken steps to preserve potentially relevant

                                       9   ESI and agree to produce ESI in searchable TIFF or PDF format when possible,

                                      10   except in the case of spreadsheets, which will be produced in native format. The

                                      11   parties do not believe there is a need for a separate order governing ESI issues.
                                                  11. Privilege and work product issues. The parties do not anticipate any
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                                      13   disputes concerning privilege or work product. The Court is advised, however, that
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                                      14   Plaintiff’s counsel only recently appeared in this matter due to a conflict of interest

                                      15   involving Plaintiff’s former counsel, Sacks Tierney. Specifically, Sacks Tierney

                                      16   previously represented Bardwell in his divorce proceeding in which positions and

                                      17   arguments were made regarding the nature of the transactions at issue in this case,

                                      18   i.e., that it was a gift. It is presently unknown whether Bardwell will waive his

                                      19   privilege with respect to those matters or information contained in his domestic

                                      20   relations file. Defendants’ counsel have requested, and are awaiting disclosure and

                                      21   receipt of the files from prior counsel and Sacks Tierney at this time.

                                      22          12. Rule 502(d) order. The parties do not believe a Rule 502(d) order is

                                      23   warranted or needed at this time, but this may change based upon the discussion set

                                      24   forth above under paragraph 11.

                                      25          13. Mandatory Initial Discovery Pilot Project.             Given Mr. Pratte’s

                                      26   counsel’s recent substitution into this case, the Court extended the parties’ MIDP

                                      27   deadline and ordered the parties to exchange MIDP disclosures within 30 days of

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                                       1   counsel’s substitution. The parties have agreed to exchange MIDP disclosures on or

                                       2   before April 24, 2019.

                                       3         14. Necessary Discovery.

                                       4                a. Extent, nature, and location and proportionality. The parties

                                       5                    believe that discovery in this case will predominantly consist of

                                       6                    document discovery and deposition testimony related to: 1) the

                                       7                    alleged formation of an enforceable oral employment agreement; 2)

                                       8                    the business and personal relationship between the parties between

                                       9                    2006 – 2018; 3) any evidence or discussions related to any alleged

                                      10                    employment agreement, any alleged employment relationship, and

                                      11                    the payments and property conveyed by Pratte to Bardwell and past
                                                            positions taken by the Parties in relation to the transfer of
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                                      13                    properties, i.e., gift or consideration. At this stage, it is unclear how
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                                      14                    many depositions each party will need or what the universe of

                                      15                    relevant documents will look like.        Given that the relationship

                                      16                    between Pratte and Bardwell spans almost 20 years, the Parties

                                      17                    commit to working together to narrow the relevant universe of

                                      18                    document discovery.

                                      19                b. Suggested changes to limitations. No suggested changes.

                                      20                c. Number of hours permitted for each deposition. The parties

                                      21                    agree to limit depositions to seven (7) hours per witness in

                                      22                    compliance with Fed. R. Civ. P. 30(d)(1), and further agree to work

                                      23                    together in the event any issues arise regarding the length of a

                                      24                    particular deposition.

                                      25         15. MIDP discovery responses.             The parties will serve their MIDP

                                      26   disclosures on or before April 24, 2019

                                      27         16. Proposed dates.

                                      28                a. Completion of fact discovery and final supplementation of


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                                       1                     MIDP responses: December 6, 2019

                                       2                 b. Expert disclosures deadline:       Plaintiff will designate all trial

                                       3                     experts and provide opposing counsel with reports from retained

                                       4                     experts on issues on which they bear the burden of proof pursuant

                                       5                     to Fed. R. Civ. P. 26(a)(2)(A)–(C) by January 3, 2020. Defendants

                                       6                     will designate all trial experts and provide opposing counsel with

                                       7                     reports from retained experts on issues on which they bear the

                                       8                     burden of proof pursuant to Fed. R. Civ. P. 26(a)(2)(A)–(C) by

                                       9                     February 7, 2020. Rebuttal expert disclosures, if any, shall be made

                                      10                     no later than March 27, 2020.

                                      11                 c. Expert depositions deadline: May 1, 2020.
                                                         d. Deadline for face-to-face good faith settlement talks: December
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                                      13                     13, 2019.
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                                      14                 e. Dispositive motion deadline: May 15, 2020.

                                      15          17. Jury trial requested.       Both sides demanded a jury in their initial

                                      16   pleadings. These requests are not contested.

                                      17          18. Prospects for settlement. Given the amount in controversy, settlement

                                      18   appears unlikely, but the parties will continually reassess settlement posture as the

                                      19   case proceeds.

                                      20          19. Other matters. At this time, the parties are not aware of any other

                                      21   matters that require the Court’s attention.

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                                       1      DATED this 9th day of April, 2019

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                                       1                           CERTIFICATE OF SERVICE
                                       2        I certify that on April 9, 2019, I electronically transmitted the foregoing to the
                                       3   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                           Electronic Filing to the following:
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